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3
     Attorney for defendant,
4    Michael Ray Taylor, Jr.
5
                          UNITED STATES DISTRICT COURT
6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                     ) Case No. 2:12-CR-0375-TLN
     UNITED STATES OF AMERICA,        )
9                                     ) STIPULATION AND ORDER
              Plaintiff,              ) CONTINUING DATE FOR
10                                    ) JUDGMENT AND SENTENCING
         vs.                          )
11                                    )
     MICHAEL RAY TAYLOR, JR., et al., )
12                                    )
              Defendants.             )
13

14      Plaintiff, United States of America, by and through its counsel of record, and
15
     Defendant, by and through its counsel of record, hereby stipulate as follows:
16
        The sentencing date of May 11, 2017 be continued to June 8, 2017 at 9:30 a.m.
17

18   The parties agree to the following schedule concerning the PSR:
19
      Judgment and Sentencing Date                June 8, 2017, 9:30 a.m.
20
     Reply, or Statement of Non-Opposition June 1, 2017
21

22   Motion for Correction of the PSR shall       May 25, 2017
     be filed with the court and served on
23
     the Probation Officer and opposing
24   counsel no later than
     The PSR shall be filed with the Court        May 18, 2017
25
     and disclosed to counsel no later than
26

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1
     Counsel’s written objections to the           May 11, 2017
     PSR shall be delivered to the Probation
2    Officer and opposing counsel no later
3
     than

4

5
        IT IS SO STIPULATED

6    DATED: April 13, 2017                          /s/ Timothy E. Warriner, Attorney for
                                                    Defendant, Michael Taylor, Jr.
7

8
     DATED: April 13, 2017                          /s/ Jared C. Dolan, Assistant
9
                                                    U.S.Attorney
10

11

12                                       ORDER
13
           GOOD CAUSE APPEARING, the court hereby continues the date for
14
     pronouncement of judgment and sentence from May 11, 2017 to June 8, 2017 at
15

16   9:30 a.m. The court adopts the above schedule concerning the PSR.
17

18   DATED: April 13, 2017
19

20                                                   Troy L. Nunley
                                                     United States District Judge
21

22

23

24

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